Case 2:21-cv-03348-RGK-MAR Document 70 Filed 10/04/21 Page 1 of 8 Page ID #:761




                      UNITED STATES DISTRICT COURT
                     CENTRAL DISTRICT OF CALIFORNIA

   LOUIS LOE                                  CASE NO:
                                              2:21−cv−03348−RGK−MAR
                  Plaintiff(s),
                                              ORDER FOR JURY TRIAL
          v.
   UNITED STATES OF AMERICA , et al.          Pretrial Conference:
                                              May 23, 2022 at 09:00 AM
                                              Jury Trial Date:
                                              June 14, 2022 at 09:00 AM
                 Defendant(s).




    UNLESS OTHERWISE ORDERED BY THE COURT, THE FOLLOWING
    RULES SHALL APPLY:
                                    SCHEDULING
          1.     In General

          All motions to join other parties or to amend the pleadings shall be filed and
    served within fifteen (15) days of the date of this order.
          Motions for summary judgment or partial summary judgment shall be filed as
    soon as practical, however, in no event later than the motion cut−off date.
    ///
    ///
    ///


                                                 −1−
Case 2:21-cv-03348-RGK-MAR Document 70 Filed 10/04/21 Page 2 of 8 Page ID #:762
         2.      Discovery Cut−Off
         The Court has established a cut−off date for discovery in this action. All
    discovery shall be complete by the discovery cut−off date specified in the Scheduling
    Order. This is not the date by which discovery requests must be served; it is the

    date by which all discovery is to be completed.

         In an effort to provide further guidance to the parties, the Court notes the
    following:
                 a.    Depositions
         All depositions shall be scheduled to commence sufficiently in advance of the
    discovery cut−off date to permit their completion and to permit the deposing party
    enough time to bring any discovery motion concerning the deposition prior to the
    tcut−off date.

                 b.    Written Discovery
         All interrogatories, requests for production of documents, and requests for
    admission shall be served sufficiently in advance of the discovery cut−off date to
    permit the discovering party enough time to challenge (via motion practice)
    responses deemed to be deficient.
                 c.    Discovery Motions
         Whenever possible, the Court expects the parties to resolve discovery

    problems among themselves in a courteous, reasonable and professional manner.
    The Court expects that counsel will strictly adhere to the Civility and Professional
    Guidelines adopted by the United States District Court for the Central District of
    California in July, 1995.
         Discovery matters are referred to a United States Magistrate Judge. Any
    motion challenging the adequacy of responses to discovery must be filed

    timely, and served and calendared sufficiently in advance of the discovery
    cut−off date to permit the responses to be obtained before that date, if the
    motion is granted.

                                                −2−
Case 2:21-cv-03348-RGK-MAR Document 70 Filed 10/04/21 Page 3 of 8 Page ID #:763
         Consistent resort to the Court for guidance in discovery is unnecessary and
    will result in the appointment of a Special Master at the joint expense of the parties
    to resolve discovery disputes.
         3.     Mandatory ADR

         Pursuant to Local Rule 16−15, the parties in every case must select an ADR

    Procedure. The final meeting with the parties’ settlement officer must take place
    no later than 45 days before the Pretrial Conference. Local Rule 16−15.2.


                        FINAL PRE−TRIAL CONFERENCE


         This case has been placed on calendar for a Final Pre−Trial Conference
    pursuant to Fed.R.Civ.P. 16 and 26. Unless excused for good cause, each party

    appearing in this action shall be represented at the Final Pre−Trial Conference, and
    all pre−trial meetings of counsel, by the attorney who is to have charge of the
    conduct of the trial on behalf of such party.
         STRICT COMPLIANCE WITH THE REQUIREMENT OF FED.R.

    CIV.P. 26 AND LOCAL RULES ARE REQUIRED BY THE COURT.

    Therefore, carefully prepared Memoranda of Contentions of Fact and Law, a

    Joint Witness List, and Joint Exhibit List shall be submitted to the Court. The Joint

    Witness List shall contain a brief statement of the testimony for each witness, what
    makes the testimony unique from any other witness testimony, and the time
    estimate for such testimony. The Joint Exhibit List shall contain any objections to
    authenticity and/or admissibility to the exhibit(s) and the reasons for the objections.
         The Memoranda of Contentions of Fact and Law, Witness List and Exhibit
    List are due twenty−one (21) days before the Final Pre−Trial Conference.

         As for the disclosure of expert witnesses and exchange of written reports, the
    parties must follow Rule 26. In addition, if the parties intend to call expert witnesses
    at trial, they shall file within five (5) days before the Final Pre−Trial Conference

                                                −3−
Case 2:21-cv-03348-RGK-MAR Document 70 Filed 10/04/21 Page 4 of 8 Page ID #:764
    short narrative statements of the qualifications of each expert and the testimony
    expected to be elicited at trial.


                  TRIAL PREPARATION FOR JURY TRIAL
                 MOTIONS, INSTRUCTIONS AND EXHIBITS


         THE COURT ORDERS that all counsel comply with the following in their
    preparation for trial:
         1.     MOTIONS IN LIMINE
         All motions in limine must be filed and served a minimum of forty−five (45)
    days prior to the scheduled trial date. Each motion should be separately filed and
    numbered. All opposition documents must be filed and served at least twenty−five

    (25) days prior to the scheduled trial date. All reply documents must be filed and
    served at least ten (10) days prior to the scheduled trial date.
         All motions in limine will be ruled upon on or before the scheduled trial date
    and should not be noticed for motion on any date other than the assigned trial date.
         2.      JURY INSTRUCTIONS/SPECIAL VERDICT FORMS
         Thirty−five (35) days before trial, plaintiff shall serve plaintiff’s proposed jury
    instructions and special verdict forms on defendant. Twenty−eight (28) days before

    trial, defendant shall serve on plaintiff defendant’s objections to plaintiff's
    instructions together with any additional instructions defendant intends to offer.
    Twenty−one (21) days before trial, plaintiff shall serve on defendant plaintiff’s
    objections to defendant’s instructions. Twenty−one (21) days before trial, counsel
    are ordered to meet and confer to attempt to come to agreement on the proposed
    jury instructions. The parties shall make every attempt to agree upon the jury

    instructions before submitting them to the Court. It is expected that counsel will
    agree on the substantial majority of jury instructions, particularly where patent
    instructions are involved.

                                                 −4−
Case 2:21-cv-03348-RGK-MAR Document 70 Filed 10/04/21 Page 5 of 8 Page ID #:765
         Sixteen (16) days before trial, counsel shall file with the Court a JOINT set
    of jury instructions on which there is agreement. Defendant's counsel has the
    burden of preparing the joint set of jury instructions. At the same time each party
    shall file its proposed jury instructions which are objected to by any other party,

    accompanied by points and authorities in support of those instructions.

         When the parties disagree on an instruction, the party opposing the
    instruction must attach a short statement (one to two paragraphs) supporting the
    objection, and the party submitting the instruction must attach a short reply
    supporting the instruction. Each statement should be on a separate page and should
    follow directly after the disputed instruction.
         The parties ultimately must submit one document, or if the parties disagree
    over any proposed jury instructions, three documents. The three documents shall

    consist of: (1) a set of Joint Proposed Jury Instructions; (2) Plaintiff’s Disputed
    Jury Instructions; and (3) Defendant’s Disputed Jury Instructions. Any disputed
    Jury Instructions shall include the reasons supporting and opposing each
    disputed instruction in the format set forth in the previous paragraph.
         The Court directs counsel to use the instructions from the Manual of Model
    Jury Instructions for the Ninth Circuit where applicable. Where California law is
    to be applied and the above instructions are not applicable, the Court prefers

    counsel to use the California Jury Instructions in either BAJI or CACI. If none of
    these sources is applicable, counsel are directed to use the instructions in Devitt,
    Blackmar and Wolff, Federal Jury Practice and Instructions.
         Modifications of instructions from the foregoing sources (or any other form
    instructions) must specifically state the modification made to the original form
    instruction and the authority supporting the modification.

         Each requested instruction shall be set forth in full; be on a separate page;
    be numbered; cover only one subject or principle of law; not repeat principles of
    law contained in any other requested instructions; and cite the authority for a source

                                                 −5−
Case 2:21-cv-03348-RGK-MAR Document 70 Filed 10/04/21 Page 6 of 8 Page ID #:766
    of the requested instruction. In addition to the foregoing, each party shall file
    with the Courtroom Deputy on the first day of trial a "clean set" of the aforesaid
    requested duplicate jury instructions in the following form: Each requested
    instruction shall be set forth in full; be on a separate page with the caption

    "COURT'S INSTRUCTION NUMBER                      "; cover only one subject or

    principle of law; and not repeat principles of law contained in any other requested
    instruction. The "clean set" shall not cite the authority for a source of the
    requested instruction. Counsel shall also provide the Court with a CD in
    WordPerfect format containing the proposed jury instructions.
          An index page shall accompany all jury instructions submitted to the Court.
    The index page shall indicate the following:
          •      the number of the instruction;

          •      a brief title of the instruction;
          •      the source of the instruction and any relevant case citation; and

          •      the page number of the instruction.

    EXAMPLE:
          NO      TITLE                               SOURCE              PAGE
          5       Evidence for Limited Purpose             9th Cir. 1.5      9


          During the trial and before argument, the Court will meet with counsel and
    settle the instructions. Strict adherence to time requirements is necessary for the
    Court to examine the submissions in advance so that there will be no delay in
    starting the jury trial. Failure of counsel to strictly follow the provisions of
    this section may subject the non−complying party and/or its attorney to
    sanctions.

    ///
    ///
    ///

                                                     −6−
Case 2:21-cv-03348-RGK-MAR Document 70 Filed 10/04/21 Page 7 of 8 Page ID #:767
          3.     TRIAL EXHIBITS
          Counsel are to prepare their exhibits for presentation at the trial by placing
    them in binders which are indexed by exhibit number with tabs or dividers on the
    the right side. Counsel shall submit to the Court an original and one copy of the

    binders. The exhibits shall be in a three−ring binder labeled on the spine portion

    of the binder as to the volume number and contain an index of each exhibit included
    in the volume. Exhibits must be numbered in accordance with Fed.R.Civ.P. 16, 26
    and the Local Rules.
          Exhibit list shall indicate which exhibits are objected to, the reason for the
    objection, and the reason it is admissible. Failure to object will result in a waiver
    of objection.
          The Court requires that the following be submitted to the Courtroom Deputy

    Clerk on the first day of trial:
          •     The original exhibits with the Court's exhibit tags shall be stapled to
                 the front of the exhibit on the upper right−hand corner with the case
                 number, case name, and exhibit number placed on each tag. Exhibit
                 tags can be obtained from the Clerk’s Office, Room G−8, 312 North
                 Spring Street, Los Angeles, CA 90012.
          •     One bench book with a copy of each exhibit for use by the Court,

                 tabbed with numbers as described above. (Court's exhibit tags not
                 necessary.)
          •     Three (3) copies of exhibit lists.
          •     Three (3) copies of witness lists in the order in which the witness
                 may be called to testify.
          •     Counsel are ordered to submit a short joint statement of the case

                 seven (7) days before trial that the Court may read to the prospective
                 panel.
    ///

                                                 −7−
Case 2:21-cv-03348-RGK-MAR Document 70 Filed 10/04/21 Page 8 of 8 Page ID #:768
        •     All counsel are to meet not later than ten (10) days before trial and
               to stipulate so far as is possible as to foundation, waiver of the best
               evidence rule, and to those exhibits which may be received into
               evidence at the start of trial. The exhibits to be so received will be
               noted on the copies of the exhibit lists.
        •     Counsel may, but need not, submit brief proposed voir dire questions
               for the jury seven (7) calendar days before the Pretrial Conference.
               The Court will conduct its own voir dire after considering any proposed
               voir dire submitted by counsel.
        •     Any items that have not been admitted into evidence and are left in the
               courtroom overnight without prior approval, will be discarded.

       IT IS SO ORDERED.


   DATED: October 4, 2021
                                              R. Gary Klausner
                                              United States District Judge




       Rev. Mar. 2016                          −8−
